Case 3:12-cr-00427-L              Document 381    Filed 07/24/13      Page 1 of 2      PageID 848



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §    CASE NO: 3:12-CR-427-L
                                                  §
CONNELL HEADS (09)                                §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of Defendant, and the Report and Recommendation Concerning Plea of Guilty

of the United States Magistrate Judge (“Report”), and no objections thereto having been filed within

fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be, and is

hereby accepted. Based upon the Report of the Magistrate Judge, the court finds that Defendant is

fully competent and capable of entering an informed plea, that he is aware of the nature of the charge

and the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea,

supported by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Connell Heads on July 9,

2013, and he is hereby adjudged guilty of the offense charged in Count One of the Superseding

Information, which is a violation of 21 U.S.C. § 846, namely, Conspiracy to Distribute Marijuana.

Sentence will be imposed in accordance with the court’s scheduling order.




Order Accepting Report – Page 1
Case 3:12-cr-00427-L              Document 381   Filed 07/24/13     Page 2 of 2   PageID 849




        It is so ordered this 24th day of July, 2013.




                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




Order Accepting Report – Page 2
